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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

JOHN L. BULLOCK,

Plaintiff,
Case No. 21 l O-cv-02482-SHM-cgc
v.

WORLD SAVINGS BANK, FSB,

WACHOVIA MORTGAGE, MARY C. REEDER,
THE CITY OF MEMPHIS, PAMELA POPE
JOHNSON, MELISSA PALO,

\./\./\./\_/\./\/\/\_/\_/V\_/V

Defendants.

 

DEFENDANTS WORLD SAVINGS BANK, FSB, WACHOVIA MORTGAGE, AND
MARY C. REEDER'S MOTION TO DISMISS

 

Corne now Defendants World Savings Bank, FSB, Wachovia Mortgage (properly
referred to as Wachovia Mortgage FSB, the successor to World Savings Bank, FSB) and Mary
C. Reeder (collectively, “Defendants”), by and through their undersigned counsel, pursuant to
Rule lZ(b)(G) of the Federal Rules of Civil Procedure, and respectfully move this Court to
dismiss Plaintiff`s Petition for Action to Quiet Title, With prejudice for failure to state a claim
upon which relief can be granted In support of this l\/Iotion, Defendants rely on their

Memorandurn of Law filed concurrently herewith and the entire record in this cause.

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Respectfully submitted,

BAKER, DONELSON, BEARMAN,
CALDWELL & BERKOWITZ, P.C.

s/ Robert F. Tom

Robeit F. Tom (BPR #26636)
Laura P. Merritt (BPR #26482)
165 Madison Avenue, Suite 2000
Memphis, TN 38103

Telephone: 901 .526.2000
Facsimile: 901 .577.2303

Email: rtom@bakerdonelson.com

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 12th day of July, 2010, a copy of the
foregoing was electronically filed using the CM/ECF system and served on the following via

U.S. Mail:

John L. Bullock
3336 Durford Wood Cove
Memphis, Tennessee 38128

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s/ Robert F. Tom

